        Case 4:18-cv-00066-RM     Document 505     Filed 10/30/23   Page 1 of 1

                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     OCT 30 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 ANANT KUMAR TRIPATI,                           No. 21-15902

               Plaintiff - Appellant,
                                                D.C. No. 4:18-cv-00066-RM
   v.                                           U.S. District Court for Arizona,
                                                Tucson
 CORIZON INCORPORATED; et al.,
                                                MANDATE
               Defendants - Appellees,

   v.

 ARIZONA BOARD OF NURSING and
 ARIZONA MEDICAL BOARD,

               Movants - Appellees.


        The judgment of this Court, entered August 23, 2023, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT
